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                 EXHIBIT A
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                                                                      Page 1
            AMERICAN ARBITRATION ASSOCIATION
RENEE ZINSKY,                  )
                               )
                 Claimant,     )
                               )
      vs.                      )
                               )
ARIAS AGENCIES, ET AL.,        )   Case No.
                               )   01-22-0004-0849
            Respondent,        )
                               )
      vs.                      )
                               )
AMERICAN INCOME LIFE           )
INSURANCE COMPANY,             )
                               )
            Respondent.        )

 BEFORE:    ARBITRATOR CAROLE KATZ
            ARBITRATOR MELVIN VATZ
            ARBITRATOR STEPHEN JORDAN

                     March 4, 2024
                      9:42 a.m.



     CONFIDENTIAL TRANSCRIPT OF PROCEEDINGS




 Reported By:

 Maria M. Siatkowski
 Certified Diplomate Reporter
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 1   APPEARANCES:
 2   For the Claimant:
 3   Savinis, Kane & Gallucci, LLC (via Zoom and
     phone):
 4   BY: JOHN KANE, ESQUIRE
     BY: JANICE SAVINIS, ESQUIRE
 5   BY: MICHAEL GALLUCCI, ESQUIRE
     BY: AMY WILLIAMSON, ESQUIRE
 6   Koppers Building
     436 Seventh Avenue #700
 7   Pittsburgh, PA 15219
     412-567-4931
 8
     For the Respondent Arias Agencies:
 9
     Strassburger, McKenna, Gutnick & Gefsky
10   BY: JEAN E. NOVAK, ESQUIRE
     BY: ERICA LAUGHLIN, ESQUIRE
11   Four Gateway Center
     444 Liberty Avenue #2200
12   Pittsburgh, PA 15222
     412-281-5423
13   jnovak@smgglaw.com
14   For the Respondent American Income Life
     Insurance Company:
15
     King and Spalding LLP
16   BY: JEFFREY HAMMER, ESQUIRE
     BY: JAMES A. UNGER, ESQUIRE
17   BY: ANNE ROSE DANA, ESQUIRE
     633 West 5th Street
18   Suite 1600
     Los Angeles, CA 90071
19   junger@kslaw.com
20   ALSO PRESENT:
     Corey Herrick
21   Simon Arias
     Rebecca Regniere - (via phone)
22
23
24
25

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 1                  P R O C E E D I N G S
 2                      ARBITRATOR KATZ:      Would you
 3   please, on the phone, state your names again,
 4   slower, so the court reporter can get it down?
 5                      ATTORNEY KANE:      John Kane,
 6   K-A-N-E.
 7                      ATTORNEY SAVINIS:       Janice
 8   Savinis, S-A-V-I-N-I-S.
 9                      ATTORNEY GALLUCCI:       Mike
10   Gallucci, G-A-L-L-U-C-C-I.
11                      ATTORNEY WILLIAMSON:        Amy
12   Williamson, W-I-L-L-I-A-M-S-O-N.
13                      ARBITRATOR KATZ:      Okay.       And
14   Respondents counsel, would you please enter
15   your appearances and you can go in whatever
16   order you choose.
17                      ATTORNEY HAMMER:      For
18   Respondent, American Income Life Insurance
19   Company, Jeffrey Hammer, and Anne Dana and
20   James Unger.     And as a representative for
21   American Income Life Insurance Company,
22   Corey Herrick is present as well.
23                      ARBITRATOR KATZ:      And how do
24   you spell your --
25                      ATTORNEY HERRICK:       It's


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                                                                          Page 4
 1   H-E-R-R-I-C-K.
 2                      ARBITRATOR KATZ:      And Corey is
 3   C-O-R-E-Y?
 4                      ATTORNEY HERRICK:         Correct.
 5                      ARBITRATOR KATZ:      Okay.
 6                      ATTORNEY NOVAK:      For Arias
 7   Agencies, Jean Novak, Erica Laughlin, and
 8   corporate representative, Simon Arias.
 9                      ARBITRATOR KATZ:      Claimants
10   counsel, is Claimant present with you?
11                      ATTORNEY KANE:      No.
12                      ARBITRATOR KATZ:      Okay.     We,
13   you know, received the E-mail communication
14   last night.     Actually, I saw it this morning,
15   and we have some questions about it.            If, you
16   know, on behalf of Claimant you choose not to
17   move forward at all, that is, I suppose, your
18   client's decision.
19                 But the E-mail is, basically, among
20   other things, says that there's a protective
21   order in the Federal Court that are -- by
22   signing the subpoena, the Russin subpoena, we
23   would be putting Claimant in a position of
24   violating.
25                 The protective order is publicly


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 1   filed and we're just confused on why Claimant's
 2   position is that that would -- that the
 3   protective order is implicated in the subpoena
 4   that the panel signed.
 5                     ATTORNEY KANE:       Well, if there
 6   was a document that was marked Confidential
 7   that did not allow either party to discuss it,
 8   and then we were compelled to discuss something
 9   we're not permitted to discuss, we would go on
10   to Federal Court and seek relief.
11                But because this occurred between
12   Friday and Monday, Claimant felt that she had
13   no choice but to dismiss her claim yesterday,
14   March 3, 2024, in its entirety against any
15   pending claims, against any pending
16   Respondents, before being put in such a
17   position.
18                     ARBITRATOR KATZ:       When were
19   you planning on calling Russin?         He was the
20   first witness.
21                And again, my understanding, and we
22   don't have a hard copy here of the protective
23   order, we can all pull it up on our screens
24   because that's a -- that protects certain
25   discovery materials marked as Confidential.


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 1                 Again, we're not -- we're just not
 2   -- we're confused about why it -- understanding
 3   there's two separate issues.
 4                 One, whether the protective order is
 5   implicated and then, two, if the settlement
 6   agreement is confidential, that's a contractual
 7   issue.
 8                 So I'd like to stick with one at a
 9   time and the -- and to understand what your
10   claim is as to the protective order.
11                      ATTORNEY KANE:      Well, I don't
12   have the protective order in front of me, but I
13   would say to the Court there's two things -- I
14   would say there's three things.         It would be
15   the ongoing settlement negotiations pursuant to
16   a federal mandated mediation.        Any
17   conversations and any documents created
18   pursuant to that would also be protected for
19   the third issue.
20                 So there are three issues involved.
21   One would be the protective order.          One would
22   be the protection from federal, I think it's
23   408.     And that the last one would be if there
24   is a settlement agreement, that would be an
25   entirely separate issue, which I don't think


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 1   the parties could take a position on at this
 2   moment.
 3                     ARBITRATOR KATZ:       So the Panel
 4   signed a subpoena.     The import of which was to
 5   have a witness bring one document with him and
 6   that was a settlement agreement.         And I'm --
 7   the Panel has not ruled that the content of any
 8   settlement negotiations is in play.            So I want
 9   to make that clear.      The sole issue is a
10   settlement agreement.
11                     ATTORNEY KANE:       Yeah.     We
12   don't speak for Mike Russin and so we don't
13   know what he would say.       We have probably a
14   different position on the matter than that he
15   would but none of this could be fleshed out in
16   Federal Court which is where we would have
17   fleshed it out.
18                     ARBITRATOR KATZ:       We're not
19   asking you to speak for Mike Russin.            We as the
20   Panel control the evidence admitted here and
21   control our rulings and the only action the
22   Panel has taken was to sign a subpoena to have
23   Russin bring with him a settlement agreement.
24   That -- so the Panel has not any -- made any
25   ruling that negotiations that led to that


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 1   settlement agreement are admissible.          So I want
 2   to be clear on that.
 3                 (Arbitrator Katz conferred with
 4   Arbitrator Vatz.)
 5                      ARBITRATOR KATZ:      Nor have we
 6   ordered the Claimant to produce this one
 7   document.
 8                 So, I mean, I, you know, again, the
 9   Panel is just confused on the turn of events in
10   the last, you know -- less than 24 hours after
11   all the work that everyone's put into this for
12   Claimant to dismiss her case based on us
13   signing a subpoena -- a subpoena for one
14   document.
15                 So we're just trying to understand.
16   Does Respondent want to be heard or --
17                      ATTORNEY HAMMER:      There's been
18   no change in our position.        There's a subpoena
19   that's been issued, you know, that we think is
20   valid and enforceable.       We're here for the
21   hearing.    The clients are present.        We're ready
22   to proceed.
23                 If the Panel wants to hear about
24   what the request is our position vis-a-vis the
25   E-mail that was sent last night, we can address


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 1   that now, if that's what you're asking.
 2                      ARBITRATOR KATZ:       Can you hear
 3   on the phone?     I just want to make sure you can
 4   hear.
 5                      ATTORNEY KANE:      Yes.
 6                      ARBITRATOR KATZ:       Okay.
 7                      ATTORNEY HAMMER:       So, I mean,
 8   our position vis-a-vis the E-mail that was sent
 9   last night is that Claimant cannot unilaterally
10   withdraw claims without prejudice if that is
11   what they're attempting to do and that we
12   should proceed with the hearing then.
13                      ARBITRATOR KATZ:       Okay.    So to
14   Claimant's counsel, the Panel wants to be clear
15   before you make any unalterable decisions that
16   the only directive so far has been that your
17   witness bring with him and produce the
18   settlement agreement.
19                If Claimant wishes to seek relief
20   from -- and again, we looked at the protective
21   order and see that as a -- you know, protecting
22   discovery documents marked as Confidential.
23   The Panel does not see the protective order as
24   relevant here.
25                But if Claimant has concerns that


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 1   she would be violating a court order, the Panel
 2   is open to working with Claimant if she wants
 3   to reorder her witnesses and get the attention
 4   of -- to try to get Judge Horan's attention,
 5   that's one option.
 6                If -- and again, the Panel is not
 7   open -- has not been asked to entertain any
 8   evidence about the negotiations leading up to
 9   the settlement agreement, so we -- and I'm sure
10   there are other solutions other than Claimant
11   dismissing her claim and we're open to
12   discussing those.
13                If, however, Claimant chooses to
14   dismiss her claim, then it would be with
15   prejudice.    And so we -- we urge Claimant's
16   counsel to consider the option -- on behalf of
17   your client, to consider the options.           Panel is
18   open to discussing them.        And I urge you to
19   confer with each other before you make a
20   decision to dismiss the case with prejudice.
21                      ATTORNEY KANE:      So just in
22   response to Mr. Hammer's comment about a valid
23   subpoena, we would object that it was a valid
24   subpoena being issued, but, you know, less than
25   24 hours from the first witness in the hearing.


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 1   We don't think of any -- that could be
 2   categorized as a reasonable time period for a
 3   subpoena.     They had four months to do so.
 4                      ARBITRATOR KATZ:       That is --
 5   yeah, that was a question that we had.           When --
 6   this is I guess a question to Respondent's
 7   counsel.    When did you receive notice that
 8   Mr. Russin was going to be called?
 9                      ATTORNEY HAMMER:       We received
10   notice that he was voluntarily appearing.            The
11   recent dates are a blur, but I believe it was
12   the day before we asked the Panel to issue the
13   subpoena.
14                 So that was the -- that was the
15   first time we were on notice that he was not
16   appearing pursuant to a subpoena.
17                      ARBITRATOR KATZ:       Putting
18   aside your position, Claimant's counsel, on the
19   validity or lack thereof of the subpoena,
20   again, we urge you to confer about your next
21   steps and they're willing to take a break here
22   to allow you to do that.
23                 Anything you want to say?        Hold on
24   one minute.
25                 (Arbitrators confer.)


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 1                      ARBITRATOR KATZ:       I mean,
 2   well, I'll -- we'll hear counsel on this.                I
 3   mean, there's either the claimant is dismissing
 4   it with prejudice, that's one thing.           If
 5   Claimant is just not participating, then
 6   there's a rule on that and we would go forward
 7   with the evidence.
 8                So we need Claimant's counsel on the
 9   record on behalf of your client to advise us
10   what -- what your choice is.
11                Do you want to take some time to
12   discuss among yourselves?
13                      ATTORNEY KANE:      Sure, we will.
14                      ARBITRATOR KATZ:       Okay.     So
15   you can just mute us.       We don't have you on
16   video anyways and we'll stand by.          If you're
17   going to need more than, say, you know, ten
18   minutes, would you just come on and let us know
19   that?
20                      ATTORNEY KANE:      The phone cut
21   out so I'm not sure what you said.          You need
22   more --
23                      ARBITRATOR KATZ:       If you need
24   more than ten minutes -- I was just saying if
25   you need more than ten minutes to confer, just


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 1   as a courtesy, would you please unmute yourself
 2   and let us know just so we know what's going
 3   on?
 4                      ATTORNEY KANE:      Will do.
 5                      ARBITRATOR KATZ:       Okay.
 6                      ATTORNEY KANE:      All right.
 7   Hold on.
 8                (Short recess taken.)
 9                      ATTORNEY KANE:      Okay.
10   Claimant is back.      Is everybody ready?
11                      ARBITRATOR KATZ:       Hold on one
12   minute.
13                      ATTORNEY KANE:      You know what?
14   I think I need to get Amy Williamson again.
15   Hold on one second.
16                      ATTORNEY WILLIAMSON:        Hello?
17                      ATTORNEY KANE:      Hey, Amy.
18   We're waiting for the other side.          I have you
19   logged on to the Zoom call.
20                      ATTORNEY WILLIAMSON:        Okay.
21                      ATTORNEY KANE:      We're waiting
22   for the other side.
23                      ATTORNEY WILLIAMSON:        Yeah,
24   okay.
25                      ARBITRATOR KATZ:       So we're


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 1   resuming after Claimant's counsel has conferred
 2   amongst themselves.
 3                What do you have to say?
 4                      ATTORNEY KANE:      Claimant's
 5   position is that there are no claims pending,
 6   that they were withdrawn yesterday on March
 7   3rd.   And, you know, Claimant is sticking with
 8   that position.
 9                We don't agree that there's any
10   settlement agreement with Mike Russin.           We
11   believe he's an antagonistic witness to us, and
12   anything in writing reflects the settlement
13   negotiations as opposed to any final settlement
14   agreement.
15                And if you look at the Federal Court
16   docket, after Mr. Russin's counsel called it a
17   binding settlement agreement, we had to go and
18   confer again with Dave White before
19   confidential mediations and more confidential
20   negotiations and mediations and an amended
21   motion had to be filed to reflect that.
22                And so the Claimant's in a position
23   that Respondents have had four months to ask
24   for that document since that was filed in
25   October and has known about it the entire time.


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 1   They waited till the last possible second to
 2   request the subpoena so that we can seek no
 3   relief in Federal Court.        And so we had no
 4   choice but to withdraw our claims yesterday.
 5                 Claimant believes we can prove that
 6   Ms. Zinsky's signatures were forged on multiple
 7   documents, but it was deemed too late in
 8   January by the arbitrators to bring such a
 9   claim, and yet Respondents are permitted to
10   conduct discovery on the first day of trial
11   with a hostile witness, which will allow him to
12   say anything and everything he wants to say
13   because he's not protected by the Federal Court
14   action.     So Claimant does not -- does not
15   believe that she has a choice.
16                 Mr. Russin was testifying today as a
17   first witness because his wife is giving birth
18   tomorrow and we worked it out with his counsel
19   that he would testify today without a subpoena.
20   And yet, you know, we're stuck in this
21   position.
22                 So it's our position to withdraw the
23   claims and we understand it's with prejudice
24   but that's where we stand.
25                      ARBITRATOR KATZ:       Does counsel


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 1   want to be heard on anything that you just
 2   heard?
 3                      ATTORNEY HAMMER:       We do
 4   believe that any dismissal should be with
 5   prejudice.     Unless they're not showing up, then
 6   that should be -- it should not be a withdrawal
 7   without prejudice, it certainly should be with
 8   prejudice.
 9                      ARBITRATOR KATZ:       Counsel?
10                      ATTORNEY NOVAK:      We do believe
11   that the order should indicate that --
12                      ARBITRATOR KATZ:       Speak up
13   just to make sure they can hear you.
14                      ATTORNEY NOVAK:      We do believe
15   that the order should indicate that its
16   adjudication on the merits, they bore the
17   burden, they failed to appear.         They presented
18   nothing.     Therefore, in addition to withdrawing
19   with prejudice, the order should indicate that
20   they failed to appear, and that this was a
21   finding on the merits.
22                      ARBITRATOR VATZ:       Can I ask a
23   question, Ms. Novak?
24                      ATTORNEY NOVAK:      Yes.
25                      ARBITRATOR VATZ:       How can we


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 1   have both?     If we enter an order that says that
 2   the claims have been dismissed at the request
 3   of the Claimant with prejudice, doesn't that
 4   mean there was no hearing?
 5                 So are you objecting to a dismissal
 6   in saying you want to proceed with the hearing
 7   on the merits?     I just don't -- can you do
 8   both?
 9                      ATTORNEY NOVAK:      Well, we
10   showed up for the hearing.
11                      ARBITRATOR VATZ:       I
12   understand.
13                      ATTORNEY NOVAK:      We were ready
14   to go but it is their burden and, therefore,
15   they would have been the first party to present
16   evidence.     They failed to appear.          We're
17   certainly not going to present evidence based
18   on what they might have done.
19                      ATTORNEY HAMMER:       Yeah, you
20   can understand our situation.         We're here.
21   What we need is the final -- whatever wraps
22   this up needs to preclude Claimant the ability
23   of turning around and filing these claims
24   again.
25                 You know, we're thinking through


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 1   what the appropriate procedural outcome for
 2   that is.    I do, you know, hearing what
 3   Ms. Novak is saying, I mean, whether that's a
 4   final award, finding that they have not met
 5   their burden, that might be the more
 6   appropriate vehicle.
 7                But we want to make sure that the
 8   ultimate -- whatever is issued by the Panel
 9   provides that -- that fact and, you know, an
10   award saying that Claimant is -- we're here,
11   the hearing's commenced, Claimant put in no
12   evidence.    Therefore, they have not met their
13   burden might be the appropriate way to do that.
14                      ARBITRATOR KATZ:       Well, I
15   think the Panel -- and we're going to ask
16   everybody to remain where they are.           The
17   Panel's going to confer for a few minutes.            In
18   the meantime, the parties are directed there's
19   a -- to Rule 32 --
20                      ATTORNEY KANE:      I'm sorry, the
21   phone cut out there.
22                      ARBITRATOR KATZ:       The parties
23   are directed to Rule 32.        But in the meantime,
24   the Panel's going to confer for a couple
25   minutes and we'll be back.


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 1                      ARBITRATOR JORDAN:       This is
 2   Steve --
 3                      ATTORNEY KANE:      May I make one
 4   quick response?
 5                      ARBITRATOR KATZ:       Wait.     Hold
 6   on.
 7                      ARBITRATOR JORDAN:       Ms. Zinsky
 8   is on the line; is that correct?
 9                      ATTORNEY KANE:      She is not.
10                      ARBITRATOR JORDAN:       Oh, I
11   thought she called in.
12                      ARBITRATOR KATZ:       No, that was
13   Amy Williamson.
14                      ARBITRATOR JORDAN:       That was
15   Amy, sorry.
16                      ATTORNEY KANE:      May I make one
17   brief response?
18                      ARBITRATOR KATZ:       Yes.
19                      ATTORNEY KANE:      Thank you.
20                 Claimant absolutely opposes any
21   ruling on the merit.       There's been no hearing.
22   Our claims were dismissed yesterday and they
23   were dismissed yesterday for a reason.            They
24   were withdrawn yesterday, so there is no ruling
25   on the merit because there was no hearing and


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 1   there was no evidence taken.         So --
 2                      ARBITRATOR KATZ:       And just to
 3   be -- just to be clear -- just to be clear, you
 4   are representing on behalf of Ms. Zinsky that
 5   you are withdrawing or -- and dismissing all
 6   the claims that were present in this action
 7   with prejudice?
 8                      ATTORNEY KANE:      After more
 9   than two hours on the phone with our client
10   yesterday and all counsel, it was agreed that
11   we would withdraw all pending claims against
12   all pending Respondents in arbitration.            It was
13   understood that it would likely be with
14   prejudice and the Claimant understood based on
15   the circumstances and was actually the one that
16   suggested it.     So we have no hesitation
17   suggesting that Ms. Zinsky is aware of
18   everything that we're discussing now.
19                      ARBITRATOR KATZ:       Okay.    So
20   we're going to put you on mute and we'll be
21   back.
22                      ATTORNEY NOVAK:      If you want
23   to go out that door --
24                      ARBITRATOR KATZ:       Okay.
25                      ATTORNEY NOVAK:      -- I'll meet


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 1   you in the front.
 2                (Short recess taken.)
 3                      ARBITRATOR KATZ:       Okay.    We're
 4   back on the record.
 5                Claimant's counsel, are you there?
 6                      ATTORNEY KANE:      Yes.
 7                      ARBITRATOR KATZ:       Okay.    Well,
 8   the Panel would like to -- we'll say the
 9   following:
10                Number one, this one document that
11   was -- that the witness was directed to bring
12   with him in the subpoena is potentially
13   relevant to his credibility as a witness that
14   Claimant is choosing to call.         If there is no
15   final settlement agreement, then there is
16   nothing for the witness to bring.
17                However, the Panel before we -- one
18   final time confirm that Claimant -- the
19   Claimant's course of action, the Panel wants to
20   be clear that as I think we've said we would be
21   willing to take a pause if Claimant wants to
22   reach out to Judge Horan.        We also would be
23   willing to take this witness out of order if
24   he's tied up with the birth of a child.            We
25   would be willing to hold it -- to go forward


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 1   with the evidence and hold the hearing open for
 2   this one witness by Zoom afterwards.
 3                And we want Claimant's counsel to be
 4   clear that there are other options.            Those
 5   happen to be the ones we've thought of.            There
 6   may be others that you or other -- that you
 7   would offer and we'd be open to hearing them.
 8                With that, then we ask Claimant's
 9   counsel do you want -- are you sure you want to
10   dismiss this case with prejudice or do you want
11   to reconsider that?
12                      ATTORNEY KANE:      So long as
13   it's not an adjudication on the merits we want
14   it dismissed.     We believe it was withdrawn
15   yesterday, precluding an adjudication on the
16   merit.
17                      ARBITRATOR KATZ:       So
18   Claimant's counsel, on the record, you are
19   dismissing and withdrawing this case, including
20   all claims brought, whether they've been
21   disposed of prior to the hearing or would have
22   been the subject of the hearing, you are
23   dismissing with -- and withdrawing all of those
24   with prejudice?
25                      ATTORNEY KANE:      We're


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 1   withdrawing all claims that are pending or were
 2   pending in this case in arbitration.
 3                      ARBITRATOR KATZ:       Are you --
 4                 (Reporter interrupted for
 5   clarification.)
 6                      ARBITRATOR KATZ:       What was
 7   that?
 8                      ATTORNEY KANE:      With
 9   prejudice.     I was acknowledging that it was
10   with prejudice.
11                      ARBITRATOR KATZ:       Okay.
12   Anything else?     Anything else?
13                      ATTORNEY HAMMER:       Well, does
14   the Panel -- our preference would be for an
15   award -- an award finding that we're here for
16   the hearing and Claimant failed to meet the
17   burden -- it's her burden to prove her claims.
18                      ARBITRATOR KATZ:       The -- go
19   ahead.
20                      ATTORNEY HAMMER:       That's --
21   and that the unilateral withdrawal for
22   dismissal with prejudice, the Claimant's not
23   permitted to do that.       That we're here for the
24   hearing.     And if --
25                      ARBITRATOR KATZ:       What is your


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 1   authority for that?      If we were in Federal
 2   Court --
 3                      ATTORNEY HAMMER:       If we were
 4   in Federal Court, you actually do need to file
 5   a motion for relief or to dismiss, you do, and
 6   it's true that under the arbitration rules
 7   there's the absence of a rule addressing this
 8   very unique situation we're in.
 9                      ARBITRATOR KATZ:       Right.
10                      ATTORNEY HAMMER:       But there is
11   a rule that addresses a scenario where a
12   witness doesn't show up for the hearing.            And
13   so --
14                      ARBITRATOR KATZ:       That's real
15   clear --
16                      ATTORNEY HAMMER:       That's where
17   we are.    That's where we are.
18                We don't think that there's -- given
19   the silence of the arbitration rules on what it
20   is that Claimant is attempting to do here, we
21   feel that Rule 32 should govern and there
22   should be an award on the merits for failing to
23   meet the burden.
24                      ARBITRATOR VATZ:       So using the
25   Federal Court rules as a parallel, as a guide.


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 1                      ATTORNEY HAMMER:       As an
 2   analog.
 3                      ARBITRATOR VATZ:       As an
 4   analog, okay.     If a Plaintiff in Federal Court
 5   comes in eve of trial or morning of trial and
 6   says, "We move the Court to enter an order
 7   dismissing all claims with prejudice, Defendant
 8   objects, says we want an award or judgment."
 9                The Court can under federal rules
10   say, "Claims are dismissed with prejudice upon
11   motion of the Plaintiff."
12                Correct?
13                      ATTORNEY HAMMER:       Yes.
14                      ARBITRATOR VATZ:       Okay.    So
15   using that as an analog, we can do the same
16   thing.    There's -- it doesn't appear to us to
17   be anything in the rules that would prevent us
18   from doing that.
19                      ATTORNEY HAMMER:       Speaking for
20   AIL, that's an option.       I don't see anything in
21   the rules that prevents anything in the request
22   to dismiss with prejudice.        Of course, Arias'
23   counsel's may have a different view about it.
24                      ARBITRATOR VATZ:       And maybe
25   this is just my curiosity.        Why is there a


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 1   difference between an award on the merits which
 2   is not binding in any other proceeding and a
 3   dismissal with prejudice?
 4                      ATTORNEY HAMMER:       We simply
 5   want, as you might imagine, to avoid being back
 6   here litigating these claims, or anywhere.
 7                And so we want what has the most
 8   preclusive effect and we think there might --
 9   you know, this is an atypical situation but an
10   award finding in favor of Respondents we think
11   may have benefit in ensuring that the same
12   Respondents are not facing these same claims by
13   the same Claimant in some other form.
14                      ARBITRATOR KATZ:       I guess
15   that's my confusion, too, is why if we would do
16   a written order laying out this is one scenario
17   that -- that the Claimant on the morning or
18   night before, whichever the case may be, the
19   hearing, after, you know, all parties had
20   traveled and gathered and prepared for a
21   hearing to -- chose to dismiss her claims with
22   prejudice, why wouldn't that have a preclusive
23   with a capital P effect?
24                      ATTORNEY HAMMER:       Well, let me
25   be very clear on the record.         I think that


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 1   would have a preclusive effect and our position
 2   is that, you know, in any further proceeding
 3   that would be preclusive.
 4                And as you might imagine, we got
 5   this -- we have not fully researched this.            And
 6   so we're, you know -- we've had time to sit and
 7   think about all of the scenarios of how this
 8   plays out.    That's our preference.
 9                We think either way, our view is
10   that whether it's a dismissal with prejudice or
11   it's an award on the merits of the hearing,
12   that it should be preclusive and we just -- you
13   know, that that's our view of what might be --
14   might have a more full-proof effect.
15                      ARBITRATOR KATZ:       I guess
16   another question because I don't remember ever
17   having dealt with this.       If it were a Federal
18   Court and the Plaintiff came in on the, you
19   know, morning or eve before trial and said, "I
20   want to dismiss my case with prejudice," you
21   know, what would be the reason or reasons a
22   court would -- would not grant that?           I mean --
23                      ARBITRATOR VATZ:       That's a
24   good question.
25                      ARBITRATOR KATZ:       I mean,


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 1   again, I've never dealt -- I don't remember
 2   ever dealing with a situation like this.            But
 3   why -- you know, I understand, you know,
 4   counsel's withdrawing, then there are all kinds
 5   of reasons a court wouldn't grant that but if
 6   counsel with full consent of their client is
 7   dismissing all claims with prejudice, why would
 8   a court not grant that?
 9                 I mean, and the alternative if
10   you're talking about Rule 32 is then we go
11   forward with evidence.       We don't just say --
12                      ATTORNEY HAMMER:       Well,
13   Rule 32 contemplates what the -- contemplates
14   the evidence that the arbitrators may require.
15                      ARBITRATOR KATZ:       "The
16   arbitrators shall require the party who is
17   present to submit such evidence as the
18   arbitrator may require for the making of an
19   award."
20                 It's clear as -- clear as mud.
21                      ATTORNEY HAMMER:       You know,
22   and our view is it's -- these are Claimant's
23   claims.     She bears the burden.      She puts on no
24   evidence.     We have no obligation to put on
25   any -- any evidence ourselves.         She has not met


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 1   her burden so there should be no evidence
 2   that's required to be put in.
 3                      ARBITRATOR VATZ:        Well, let me
 4   just muddy the waters.       If we did it that way,
 5   because I don't think -- I don't think you can
 6   do both.     I don't think you do a stipulation or
 7   a dismissal with prejudice on the motion of the
 8   Claimant and then an award.        Okay?
 9                 To me, that there's a little bit of
10   an inherent contradiction.        Again, I've never
11   researched this either or come across this
12   situation.
13                But let's just assume that we went
14   forward with a hearing and we entered an award.
15   Doesn't that give the Claimant some option to
16   then appeal the award based on, you know,
17   whatever the limited grounds for appeal of an
18   arbitration award are?       I'm not saying it would
19   be successful or not, but still that leaves
20   that open.
21                It seems to me that a dismissal with
22   prejudice ends it forever.        You tell me if I'm
23   wrong.
24                      ATTORNEY HAMMER:        One thing I
25   think would be fair to ask the Claimant's


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 1   counsel -- I mean, obviously, the intent here
 2   is to have a preclusive effect.
 3                      ARBITRATOR VATZ:       Right.
 4                      ATTORNEY HAMMER:       You know, I
 5   think it's fair to ask Claimant's counsel if
 6   they acknowledge the preclusive effect of a
 7   dismissal with prejudice and that would go a
 8   long way toward figuring out.
 9                      ARBITRATOR VATZ:       I would have
10   preferred to have asked those questions also of
11   Claimant but we don't seem to have that
12   opportunity here.
13                      ARBITRATOR KATZ:       Well, okay.
14   I think that's a fair, you know, obviously,
15   the -- well, I won't say anything's obvious.
16                In choosing on behalf -- in
17   representing on behalf of your client -- this
18   is directed to Claimant's counsel -- that with
19   her consent all of her claims in this
20   arbitration are being dismissed and withdrawn
21   with prejudice, does counsel understand and
22   does Claimant -- can you represent that
23   Claimant understands that that will have a
24   preclusive effect on all of those claims that
25   were brought in this matter?


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 1                      ATTORNEY KANE:      Claimant
 2   understands that "with prejudice" means that
 3   all pending claims cannot be brought again in
 4   arbitration forever.        So giving us authority
 5   based on our conversations what --
 6                      ARBITRATOR KATZ:       Wait, your
 7   voice cut out.     Hello?
 8                      ATTORNEY KANE:      That she gave
 9   us authority --
10                Can you hear me?
11                      ARBITRATOR KATZ:       Now we can,
12   yes.
13                      ATTORNEY KANE:      I said that
14   based on our more than two-hour conversation
15   with our client yesterday, she understands that
16   by withdrawing her claims in this matter with
17   prejudice, she cannot thereafter bring the same
18   claims in arbitration against these same
19   parties.   She understands that and has given us
20   authority to withdraw all pending claims
21   against all pending Respondents in arbitration.
22                      ARBITRATOR KATZ:       Well, does
23   she understand that by withdrawing with
24   prejudice, she cannot -- there will be a
25   preclusive effect not only on pending claims


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 1   but all claims that were brought in this matter
 2   and it will be preclusive as to not just future
 3   arbitrations but any future proceeding?
 4                      ATTORNEY KANE:      I don't know
 5   that I agree that future proceedings is
 6   necessarily applicable.       I certainly agree
 7   that, you know, she's precluded from
 8   resurrecting any of these claims in
 9   arbitration, any claims she had or ones that
10   were dismissed in arbitration.
11                But preclusive of ever doing
12   anything anywhere is I think overly broad.
13                      ARBITRATOR KATZ:       That's what
14   preclusive means, is that these claims are
15   done, dead, permanently in any form.           So if
16   we're going to enter the order, that's the
17   import.   That's the impact and, again, if you
18   need to consult with your client, we will allow
19   you to do that.
20                      ATTORNEY HAMMER:       Can I add
21   something?
22                      ATTORNEY KANE:      Can you give
23   us one minute, please?
24                      ARBITRATOR KATZ:       Wait.
25   Counsel for AIL wants to say something before


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 1   you do.
 2                      ATTORNEY HAMMER:       I mean, the
 3   way the doctrines of --
 4                      ARBITRATOR KATZ:       Are you
 5   there?    Are you still on the phone?
 6                      ATTORNEY KANE:      Yeah.      We're
 7   here.
 8                      ARBITRATOR KATZ:       Okay.     Go
 9   ahead.
10                      ATTORNEY HAMMER:       I mean, to
11   have a preclusive effect is not only on these
12   specific causes of action but it's the claims
13   that arise out of these.
14                      ARBITRATOR KATZ:       I --
15                      ATTORNEY HAMMER:       You know, it
16   is -- I'm not making up law here.          So whatever
17   the law is --
18                      ARBITRATOR KATZ:       Whatever the
19   law is.
20                      ATTORNEY HAMMER:       -- not
21   necessarily limited to the specific causes of
22   action.
23                      ARBITRATOR KATZ:       Right.     It
24   is preclusive however that's defined in the
25   controlling law as to any and all fora I think


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 1   is the proper word.
 2                So, okay.     You go ahead and confer
 3   and I'll mute and you can let us know when
 4   you're back.
 5                      ATTORNEY KANE:      Thanks.
 6                (Short recess taken.)
 7                      ATTORNEY KANE:      Can we have
 8   more than ten minutes?       I wanted to ask so
 9   you're not all sitting here waiting.
10                      ARBITRATOR KATZ:       Yeah, just
11   before you do that, Rebecca from the AAA just
12   joined and I just want to update her
13   procedurally on what's going on and I didn't
14   want to do that without you.
15                      ATTORNEY KANE:      Okay.
16                      ARBITRATOR KATZ:       Rebecca, are
17   you there?
18                      ATTORNEY REGNIERE:       I am.
19   Thank you very much.
20                      ARBITRATOR KATZ:       Okay.     So
21   you saw the E-mail communications.          Claimant's
22   counsel -- Claimant is not with them -- joined
23   by Zoom and we have made a record of everything
24   that's been discussed this morning.
25                Claimant's counsel has stated


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 1   repeatedly on the record that they wish,
 2   despite the Panel presenting other options to
 3   deal with this subpoena and their concerns, the
 4   Claimant has stated that she wishes --
 5   Claimant's counsel has stated the Claimant
 6   wishes to withdraw and dismiss all her claims
 7   with prejudice.
 8                 The Panel at Respondent's counsel's
 9   request asked Claimant's counsel whether they
10   understood the preclusive effect that this
11   would have and they are consulting among
12   themselves.     So we're putting it on mute until
13   they're back.
14                      ATTORNEY REGNIERE:       Okay.     All
15   right.     Thank you for the update.       I appreciate
16   that.
17                      ATTORNEY KANE:      Can we resume
18   at 11:00 to give everybody a break?
19                      ARBITRATOR KATZ:       Yes.
20                      ATTORNEY KANE:      Okay.
21                 (Short recess taken.)
22                      ARBITRATOR KATZ:       Okay.     We're
23   back on the record.
24                 Claimant's counsel, I'll give you
25   the mic.


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 1                      ATTORNEY KANE:      Part of that
 2   -- the phone cut out there so I didn't catch
 3   the end of that but I assume you're asking us
 4   to speak?
 5                      ARBITRATOR KATZ:       Yes.
 6                      ATTORNEY KANE:      Okay.      After
 7   conferring, Claimant's counsel and Claimant
 8   stand by her decision to withdraw all of her
 9   claims with prejudice and understands the
10   preclusive effect of withdrawing those pending
11   and dismissed claims in arbitration.
12                      ARBITRATOR KATZ:       Okay.     We're
13   going to put this on pause one more time
14   because the case manager at the AAA has asked
15   us to keep her apprised, so I don't think we'll
16   be much longer.
17                 Anybody want to say anything else on
18   the record?
19                      ATTORNEY HAMMER:       Yes.     You
20   know, counsel for Claimant just spoke and I
21   believe at the end there said "understands the
22   preclusive effect in arbitration."          If there's
23   not an --
24                      ARBITRATOR KATZ:       Oh, I didn't
25   catch the last two words.


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 1                      ATTORNEY HAMMER:       And so I
 2   would ask that there's an acknowledgment of
 3   preclusive effect in all fora.
 4                      ARBITRATOR KATZ:       Do you
 5   understand --
 6                      ATTORNEY KANE:      I understand
 7   what Mr. Hammer said.
 8                      ARBITRATOR KATZ:       He was
 9   picking up on the end of what you said after
10   you said that -- that Claimant understands the
11   preclusive effect, AIL's counsel heard you to
12   say and I believe he's correct I just didn't --
13   it didn't register with me, "in arbitration."
14                And is that your -- is that -- did
15   you say that as opposed to the preclusive
16   effect generally?
17                      ATTORNEY KANE:      I did make
18   that distinction, correct.
19                      ARBITRATOR KATZ:       And what is
20   the distinction then that you're making?             I
21   mean, what --
22                      ATTORNEY KANE:      The
23   distinction is just whether it's an
24   adjudication on the merits or withdrawal of all
25   claims.   So we understand that withdrawing


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 1   these claims means that they are forever barred
 2   and can't be brought again by Claimant in
 3   arbitration.     We certainly understand the --
 4   the issue with going to court because we were
 5   in court and that's arbitration, so we get it.
 6                      ARBITRATOR KATZ:       What do you
 7   get?   I mean, we are not here -- the Panel is
 8   not here to issue a legal opinion on what is
 9   the preclusive effect of a dismissal with
10   prejudice.
11                 What we are asking is do you and
12   does your client understand that by dismissing
13   the arbitration with prejudice, it would have
14   the same preclusive effect as any dismissal
15   with prejudice whether in arbitration or in
16   Federal Court or in state court or any other --
17   whatever form it was pending in, it has the
18   same preclusive effect as a dismissal with
19   prejudice generally.       There's no distinction --
20                      ATTORNEY KANE:      Understood.
21                      ARBITRATOR KATZ:       You
22   understand.     Okay.
23                 Anything else that you think that
24   needs to be clarified?       I'm looking at
25   Respondent's counsel.


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 1                      ATTORNEY HAMMER:       Can you give
 2   us just one moment?
 3                      ARBITRATOR VATZ:       Sure.
 4                      ARBITRATOR KATZ:       Mm-hmm.
 5                 (Short recess taken.)
 6                      ATTORNEY HAMMER:       With --
 7                      ARBITRATOR KATZ:       Wait, wait,
 8   I have it muted.     Okay, go ahead.
 9                      ATTORNEY HAMMER:       With
10   Claimant's counsel's acknowledgment, that's
11   sufficient for Respondents.        We do want to
12   request leave to seek fees and costs from the
13   Panel and would request, you know, a date by
14   which we can make that submission.
15                      ARBITRATOR KATZ:       Claimant's
16   counsel, are you still there?
17                      ATTORNEY KANE:      We are here.
18   We're obviously opposed to paying the costs and
19   such.
20                      ARBITRATOR KATZ:       And what's
21   your basis?
22                      ATTORNEY HAMMER:       Well, we
23   would make -- we're just now dealing with this
24   now and we want to assess the basis for seeking
25   fees and costs and, obviously, that would be


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 1   part of our submission is making that case to
 2   the Panel, why we believe given how things
 3   played out here we are entitled to fees and
 4   costs.
 5                      ARBITRATOR KATZ:       And if the
 6   case is dismissed with prejudice, it's over.             I
 7   mean, I'm not sure -- now I'm rethinking the
 8   procedural --
 9                (Arbitrators confer.)
10                      ARBITRATOR VATZ:       Wouldn't
11   that have to be, Mr. Hammer, in the arbitration
12   agreement for you to seek that?         Again, I don't
13   think any of us have ever dealt with this
14   situation.    But just spit balling, do you have
15   any basis for saying it should be in -- it's in
16   the arbitration agreement or it's in the rules?
17                      ATTORNEY HAMMER:       The
18   arbitration agreement does provide that the
19   Panel may grant any relief that's otherwise
20   available in court.
21                      ARBITRATOR VATZ:       It's
22   typical.
23                      ATTORNEY HAMMER:       Yeah, which
24   is typical and, you know, we're all familiar
25   with the law surrounding what entitles a party


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 1   to attorney's fees.      They're also -- and this
 2   is what would be part of any submission that we
 3   need time to look into is the particular
 4   circumstances here.      And there -- we believe
 5   there is law that addresses this type of
 6   situation but we need to have an opportunity to
 7   look into that.
 8                      ARBITRATOR KATZ:       Anything
 9   else anyone wants to say on the record before
10   we pause for what we believe will be the last
11   time?    Okay, everyone.
12                      ATTORNEY KANE:      I guess the
13   question --
14                      ARBITRATOR KATZ:       Go ahead.
15                      ATTORNEY KANE:      I guess the
16   question that Claimant -- the question the
17   Claimant would have would be whether the Panel
18   was going to entertain the motion for fees and
19   costs.    And if that's the case, we may have to
20   call our client and ask if she wants to proceed
21   in light of that.
22                      ARBITRATOR KATZ:       Well, the
23   Panel's going to confer and in the meantime,
24   you can confer with your client.
25                      ATTORNEY KANE:      Very good.


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 1                (Short recess taken.)
 2                      ARBITRATOR KATZ:       Okay.    We're
 3   back on the record.
 4                Claimant's counsel, are you there?
 5                      ATTORNEY KANE:      Yes.
 6                      ARBITRATOR KATZ:       Okay.    The
 7   Panel has reviewed the arbitration provision or
 8   contract which is the foundational document for
 9   what brings us -- for why we're in this forum.
10   And that document provides quote, "The
11   arbitrator shall have the power to award any
12   relief that would otherwise be available in
13   court, comma, including attorney's fees if
14   permitted by statute, injunctive or other
15   equitable relief."      End quote.
16                The Panel finds that this is not a
17   general fee shifting to prevailing party
18   provision and that the -- that they're not
19   aware of a statute, injunctive or other
20   equitable relief that would give Respondents a
21   right to fee shifting in this situation.
22                And accordingly are inclined to deny
23   the request to seek fees and costs and to issue
24   an order memorializing what are the results of
25   this proceeding this morning and the order


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                                                                           Page 43
 1   would dismiss the case with prejudice.
 2                We also note that there's language
 3   in the arbitration provision that says that the
 4   award shall be final and binding on the parties
 5   and their beneficiaries, successors and
 6   ensigns, et cetera.
 7                And the Panel may include that
 8   language in the dismissal with prejudice and
 9   that will bring this matter to a final and
10   preclusive conclusion.
11                That's our inclination.        If anybody
12   wants to say anything before we close the
13   record, we will allow that.
14                Anything Claimant's counsel wants to
15   say?
16                      ATTORNEY KANE:      Nothing from
17   Claimant.
18                      ARBITRATOR KATZ:       Anything --
19   any Respondent's counsel?        I'll start with
20   Arias' counsel.
21                      ATTORNEY NOVAK:      Nothing.
22                      ARBITRATOR KATZ:       AIL counsel?
23                      ATTORNEY HAMMER:       Nothing from
24   AIL.
25                      ARBITRATOR KATZ:       Okay.    This


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                                                                           Page 44
 1   hearing is -- or proceeding is now at a close
 2   and an order will be issued today.
 3                 Thank you.
 4                      ATTORNEY KANE:      Thank you.
 5                      ATTORNEY NOVAK:      Yes, I need a
 6   copy for sure.     Electronic only.
 7                 (At 11:26 a.m., the arbitration was
 8   concluded.)
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                                                                           Page 45
 1                   C E R T I F I C A T E
 2
 3                I hereby certify that the
 4   proceedings and evidence are contained fully
 5   and accurately in the stenographic notes taken
 6   by me on the hearing of the within cause, and
 7   that this is a correct transcript of the same.
 8
 9
10                   __________________________
11                   Maria M. Siatkowski
                     Registered Diplomate Reporter
12                   Certified Realtime Reporter
                     Certified Realtime Captioner
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